                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                                Case No. 06-CR-336

LEONARDO URBINA and JOSE QUINONEZ
              Defendants.


                                  DECISION AND ORDER

       Defendants Leonardo Urbina and Jose Quinonez, charged with conspiracy to distribute

cocaine, moved to suppress evidence obtained pursuant to a Title III wiretap. They argued that

the orders authorizing interception were deficient because they allowed agents to spot check

minimized conversations to see if they had turned to “criminal matters.” The magistrate judge

handling pre-trial proceedings recommended that the motions be denied. Defendants object,

so I must review the issue de novo. Fed. R. Crim. P. 59(b)(3).

                                               I.

       Under 18 U.S.C. § 2518(3), a district judge may issue an order authorizing the

interception of a wire, oral or electronic communications on finding that:

       (a) there is probable cause for belief that an individual is committing, has
       committed, or is about to commit a particular offense enumerated in section 2516
       of this chapter;

       (b) there is probable cause for belief that particular communications concerning
       that offense will be obtained through such interception;

       (c) normal investigative procedures have been tried and have failed or
       reasonably appear to be unlikely to succeed if tried or to be too dangerous;

       (d) except as provided in subsection (11), there is probable cause for belief that



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       the facilities from which, or the place where, the wire, oral, or electronic
       communications are to be intercepted are being used, or are about to be used,
       in connection with the commission of such offense, or are leased to, listed in the
       name of, or commonly used by such person.

An order authorizing such interception must specify:

       (a) the identity of the person, if known, whose communications are to be
       intercepted;

       (b) the nature and location of the communications facilities as to which, or the
       place where, authority to intercept is granted;

       (c) a particular description of the type of communication sought to be intercepted,
       and a statement of the particular offense to which it relates;

       (d) the identity of the agency authorized to intercept the communications, and of
       the person authorizing the application; and

       (e) the period of time during which such interception is authorized, including a
       statement as to whether or not the interception shall automatically terminate
       when the described communication has been first obtained.

18 U.S.C. § 2518(4). Finally, § 2518(5) provides: “Every order and extension thereof shall

contain a provision that the authorization to intercept shall be . . . conducted in such a way as

to minimize the interception of communications not otherwise subject to interception under this

chapter[.]”

                                               II.

       Defendants do not contend that the orders I issued in the present case were

unsupported by sufficient facts or otherwise failed to comply with §§ 2518(3) & (4).1 Rather,

they contend that the minimization provision of the orders renders them overbroad and

insufficient on their face under § 2518(10)(a)(ii). The contested language is as follows:


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        I issued orders authorizing the interception of calls to and from the phones of Javier
Aguilera and Gabriel Urbina in connection with this case. The operative language in the orders
is the same.

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       IT IS FURTHER ORDERED that all monitoring of wire communications shall be
       conducted in such a way as to minimize the interception and disclosure of the
       communications intercepted to those communications relevant to the pending
       investigation, in accordance with the minimization requirement of Chapter 119 of
       Title 18, United States Code, and, if minimized, the monitoring personnel shall
       spot check to insure that the conversation has not turned to criminal matters.
       Also, monitoring of conversations must immediately terminate when it is
       determined that the conversation is unrelated to communications subject to
       interception under Chapter 119 of Title 18, United States Code. Interception
       must be suspended immediately when it is determined through voice
       identification, physical surveillance, or otherwise, that none of the named
       interceptees or any of their confederates, when identified, are participants in the
       conversation unless it is determined during the portion of the conversation
       already overheard that the conversation is criminal in nature.

(R. 300-2 at 5, emphasis added.) Defendants contend that the highlighted language, by

referring to criminal matters, granted agents authority beyond the purview of Title III.

       Defendants cite no authority in support of their claim. In fact, they concede that the

Seventh Circuit rejected a virtually identical argument, albeit under plain error review, in United

States v. Mansoori, 304 F.3d 635 (7th Cir. 2002). In Mansoori, the wiretap orders allowed

agents to spot check minimized conversations “to ensure that the conversation has not turned

to criminal matters.” Id. at 645. The Mansoori defendants likewise argued that this provision

was overbroad because it referred to “criminal matters” rather than to the specific criminal

activities for which the judge had authorized interception. Id. The court rejected the argument,

stating:

       When read in context with the other terms of the wiretap orders, that language
       did not give the government license to monitor all minimized conversations for
       any mention of criminal activity, whether related to the investigation or not. The
       orders specifically identified the type of evidence that the authorized intercepts
       were intended to capture. Furthermore, the orders required the government to
       stop monitoring a conversation “immediately” if the conversation turned out not
       to constitute “communications subject to interception under [Title III.]” The orders
       also acknowledged that Title III allowed for the interception and disclosure only
       of “those communications relevant to the pending investigation . . . .” . . . .
       Notwithstanding the language of the spot-check provision, then, the overall terms

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       of the orders made reasonably clear that the government was permitted to check
       intercepted conversations solely for discussions pertinent to the government’s
       investigation, the nature and scope of which the face of the orders made clear.

Id. at 645-46 (internal citations omitted).

       Defendants attempt to distinguish Mansoori on the grounds that it was decided under

plain error review and that the orders in the present case did not, even when read in their

entirety, provide the necessary limitations. I disagree.

       First, defendants cite no case finding the objected-to language overbroad, under any

standard of review, and my own research reveals no support for such a claim. See United

States v. Gruber, 994 F. Supp. 1026, 1048 (N.D. Iowa 1998), aff’d sub nom. United States v.

Fairchild, 189 F.3d 769 (8th Cir. 1999) (rejecting facial challenge to order containing virtually

identical spot check language). Indeed, the minimization language found in the instant orders

is standard, and courts have not found problematic its use in the context of specific

minimization challenges. See, e.g., United States v. Hull, 456 F.3d 133, 135, 142-43 (3d Cir.

2006), cert. denied, 127 S. Ct. 2877 (2007); United States v. Ozar, 50 F.3d 1440, 1447-48 (8th

Cir. 1995); United States v. Funderburk, 492 F. Supp. 2d 223, 247 (W.D.N.Y. 2007); United

States v. Wright, 156 F. Supp. 2d 1218, 1222, 1233-37 (D. Kan. 2001).

       Second, read in their entirety, the instant orders were sufficiently clear. They set forth

the specific offenses on which the court found probable cause and the communications to be

captured (R. 300-2 at 1-2), e.g. those “which reveal fully the manner in which the above-listed

subjects and others as yet unknown are committing the offenses described herein” (Id. at 3).

The orders further indicate that conversations not “relevant to the pending investigation” shall

be minimized and that “monitoring . . . must immediately terminate when it is determined that

the conversation is unrelated to communications subject to interception under Chapter 119 of

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Title 18, United States Code.” (Id. at 5).

       Finally, neither defendant attempts to show that any particular call was improperly

intercepted, due to a failure to minimize or any other wrongdoing. Rather, they confine their

challenge to the face of the orders. For the reasons stated herein and those stated by the

magistrate judge, that challenge fails.

                                                III.

       THEREFORE, IT IS ORDERED that the magistrate judge’s recommendation is

ADOPTED, and defendants’ motions to suppress (R. 284, 286) are DENIED.

       Dated at Milwaukee, Wisconsin, this 15th day of February, 2008.


                                             /s Lynn Adelman
                                             ______________________________
                                             LYNN ADELMAN
                                             District Judge




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